Case 0:22-cv-60838-JEM Document 13 Entered on FLSD Docket 06/08/2022 Page 1 of 8




                          UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION

                      Case Number: 22-60838-CIV-MARTINEZ-BECERRA

  ASHLEY LUSKI,

         Plaintiff,

  v.

  EQUIFAX INFORMATION SERVICES, LLC
  and HEALTHCARE REVENUE RECOVERY
  GROUP d/b/a ARS ACCOUNT RESOLUTION
  SERVICES,

        Defendant.
  ______________________________________/

                  ORDER SETTING CIVIL TRIAL DATE AND PRETRIAL
                 SCHEDULE, REQUIRING MEDIATION, AND REFERRING
                     CERTAIN MOTIONS TO MAGISTRATE JUDGE
         Trial is scheduled to commence during the two-week period beginning Tuesday, June 20,
  2023, at 9:30 a.m., before Jose E. Martinez, United States District Judge, 400 N. Miami Ave.,
  Courtroom 10-1, Miami, Florida 33128. Calendar Call will be held on Thursday, June 15, 2023,
  at 1:30 p.m. at the same location.
         IT IS ORDERED AND ADJUDGED as follows:
                                         General Procedures
         1.      No pretrial conference shall be held in this action unless the Court determines that
  a pretrial conference is necessary. Should a pretrial conference be set, the compliance deadlines as
  set forth in the remainder of this Order shall remain unaltered.
         2.      Every motion filed in this case shall be accompanied by a proposed order granting
  the motion. The proposed order shall be filed as an exhibit to the motion and e-mailed to
  martinez@flsd.uscourts.gov in Word format.
         3.      The parties have a continuing duty to ensure the Clerk of the Court is provided with
  the up-to-date service information.
         4.      If the case is settled, the parties are directed to immediately inform the Court at
Case 0:22-cv-60838-JEM Document 13 Entered on FLSD Docket 06/08/2022 Page 2 of 8




  (305) 523-5590 and file a notice of settlement.
                                           Conferral Report
          5.      The Court does not hold a Federal Rule of Civil Procedure 26(f) Scheduling
  Conference. Instead, within 21 days of this Order, Counsel for the parties and pro se litigants
  shall meet in person to confer regarding scheduling. At this meeting, the parties shall comply with
  the agenda set forth in Local Rule 16.1(b) and file a Conferral Report no later than 14 days after
  the meeting. The parties are not required to file a Joint Proposed Scheduling Order at this time.
          6.      The Conferral Report shall include all information required by subsections (A), (B),
  and (D) through (K) of Local Rule 16.1(b)(2). In addition to that information, the report shall
  include the following: (1) whether the trial will be jury or non-jury; (2) an outline of the legal
  elements of each claim and defense raised by the pleadings (the parties are advised that this section
  shall not be a summary of allegations, but should be modeled on pattern substantive jury
  instructions applicable in this Court); (3) a good-faith estimate of the specific dollar valuation of
  actual damages and other relief at issue; and (4) the need for variance from the discovery
  limitations imposed by Local Rule and/or the Federal Rules of Civil Procedure, including the
  grounds supporting the requested variance. Unilateral submissions are prohibited.
                               Magistrate Jurisdiction Election Form
          7.      As part of the Conferral Report, the parties shall jointly complete and file with the
  Court the Magistrate Judge Jurisdiction Election Form appended to this Order as Attachment A.
  The Court will not accept unilateral submissions in this regard; thus, a “Yes” should be checked
  only if all parties agree.
          8.      If the parties consent to a full disposition of the case by the Magistrate Judge,
  including trial and entry of final judgment, the parties shall jointly file the election form appended
  to this Order as Attachment B.
                                               Discovery
          9.      Discovery in this case shall be conducted in accordance with the Federal Rules of
  Civil Procedure and Southern District of Florida Local Rules, except the deadlines under Local
  Rules 16.1(d), (e), (h), (j), (k), and (l) may be modified by further order of the Court.
          10.     Pursuant to 28 U.S.C. § 636, all discovery motions and all motions that relate
  directly to these motions, such as motions for extension of time, motions for reconsideration,
  motions for sanctions, and motions for mental or physical examinations, are referred to United



                                                    2
Case 0:22-cv-60838-JEM Document 13 Entered on FLSD Docket 06/08/2022 Page 3 of 8




  States Magistrate Judge Jacqueline Becerra to take all appropriate action.
         11.     This Order does not refer any motion that requests a continuance or extension of a
  deadline set by this Court. The parties are responsible for indicating the name of the Magistrate
  Judge on all motions and related papers referred by this order in the case number caption and to
  comply with Magistrate Judge Becerra’s Discovery Procedures Order. Particularly, the parties
  shall not file any written discovery motions without the consent of Magistrate Judge Becerra.
         12.     The parties may stipulate to extend the time to answer interrogatories, produce
  documents, and answer requests for admissions. The parties shall not file with the Court notices
  or motions memorializing any such stipulation unless the stipulation interferes with the time set
  for completing discovery, hearing a motion, or trial. Stipulations that would so interfere may be
  made only with the Court’s approval.
               Certificate of Interested Parties and Corporate Disclosure Statement
         13.     Each party shall file a Certificate of Interested Parties and Corporate Disclosure
  Statement by the later of (a) 15 days from the date of this order; or (b) if a party has not appeared
  in the case as of the date of this order, then such party may have until 15 days from the date of
  such party’s initial appearance.
         14.     The Certificate of Interested Persons and Disclosure Statement, which shall contain
  a complete list of persons, associated persons, firms, partnerships or corporations that have a
  financial interest in the outcome of this case, including all subsidiaries, conglomerates, affiliates,
  parent corporations, and other identifiable legal entities related to a party. At a minimum, this list
  should include the parties and any counsel that have appeared in this case. Next to each name
  should be the reason why such person or entity has a financial interest in the outcome of this case.
  For example, ABC Law Firm: counsel for Plaintiff XYZ Corporation.
         15.     Throughout the pendency of this action, the parties shall be under a continuing duty
  to amend, correct, and update the Certificate. The parties shall not include the names of the
  assigned District Judge and Magistrate Judge, merely by virtue of this case being assigned to them.
                                               Mediation
         16.     Mediation is required in accordance with the deadline set forth below. The parties
  shall select a mediator certified under Local Rule 16.2(b) and schedule a time, date, and place for
  mediation. It is not necessary for the parties to file a motion requesting the Court to enter an
  order scheduling the mediation. If the parties cannot agree on a mediator, they shall notify the



                                                    3
Case 0:22-cv-60838-JEM Document 13 Entered on FLSD Docket 06/08/2022 Page 4 of 8




  Clerk in writing as soon as possible, and the Clerk shall designate a certified mediator on a blind-
  rotation basis.
          17.       The parties shall notify the Court of the results of the mediation (e.g., settled,
  impasse, or adjourned to continue discussions) within five days of the conclusion of the
  mediation.
                                            Trial Procedures
          18.       As the trial date approaches, the Court will issue an Order on Trial Procedures
  outlining additional instructions on the use of depositions at trial, exhibits, and witness lists.
          19.       Counsel and all pro se litigants must meet to confer on the preparation of a joint
  pretrial stipulation, which must be filed by the deadline set forth below. The stipulation shall
  conform to Local Rule 16.1(e) and include a joint, neutral summary of the claims and defenses in
  the case, not to exceed one short paragraph per litigant claim, to be read as an introduction for voir
  dire examination. The Court will not accept unilateral pretrial stipulations and will sua sponte
  strike any such submissions. Should any of the parties fail to cooperate in the preparation of the
  joint pretrial stipulation, all other parties shall file a certification with the Court stating the
  circumstances.
          20.       The parties shall file joint proposed jury instructions and/or proposed findings of
  fact and conclusions of law by the deadline set forth below. A Word version copy of the joint
  proposed jury instructions and verdict form or the proposed findings of fact and conclusions of
  law shall be e-mailed to martinez@flsd.uscourts.gov at the time of filing.
                                               Jury Trials
          21.       The parties shall file a joint set of proposed jury instructions and a joint
  proposed verdict form in accordance with the deadline set forth below. In preparing proposed
  jury instructions, the parties shall utilize as a guide the Pattern Jury Instructions for Civil Cases
  approved by the United States Eleventh Circuit, including the Directions to Counsel contained
  therein. Instructions and questions proposed only by the plaintiff(s) to which the defendant(s)
  object shall be italicized. Instructions and questions proposed only by the defendant(s) to which
  the plaintiff(s) object shall be boldfaced. Each jury instruction shall be typed on a separate sheet
  and must be supported by citations of authority. Each disputed jury instruction shall also state the
  legal basis for the objection(s) with citations to authority.

                                                     4
Case 0:22-cv-60838-JEM Document 13 Entered on FLSD Docket 06/08/2022 Page 5 of 8




                                            Bench Trials
         22.     Each party shall file proposed findings of fact and conclusions of law in accordance
  with the deadline set forth below. Proposed findings of fact shall be supported by citations to the
  documentary evidence, if applicable. Conclusions of law shall be supported by citations of
  authority. Copies of each party’s proposed findings of fact and conclusions of law in Word format
  shall be e-mailed to martinez@flsd.uscourts.gov at the time of filing.
                                      SCHEDULING ORDER

         The following timetable shall govern the pretrial procedures in this case. This schedule
  shall not be modified absent compelling circumstances. All motions for enlargement of time of
  any deadlines set forth below must include a statement as to whether the requested extension will
  affect the trial date or any other deadline set forth in this timetable. Failure to include such a
  statement may be grounds for denial of the motion.


   10-24-2022          Motions to join additional parties, amend the complaint, and class
                       certification.

   11-22-2022          Parties shall exchange expert witness summaries and reports.

   12-2-2022           Parties shall exchange written lists containing the names and addresses of
                       all witnesses intended to be called at trial and only those witnesses listed
                       shall be permitted to testify.

   12-22-2022          Parties exchange rebuttal expert witness summaries and reports.

   2-10-2023           All discovery, including expert discovery, shall be completed.

   2-20-2023           A mediator must be selected.

   3-13-2023           All Daubert, summary judgment, and other dispositive motions must be
                       filed. Each party is limited to filing a single Daubert motion of no more than
                       20 pages. Summary judgment motions, in addition to containing a Statement
                       of Material Facts pursuant to Local Rule 56.1(a), shall be accompanied by a
                       separately-filed Joint Statement of Undisputed Fact, which must include all
                       relevant facts about which there is no material dispute. Each undisputed fact
                       shall be individually numbered and separated by paragraphs. This filing is
                       limited to 10 pages and does not otherwise change the parties’ obligation to


                                                   5
Case 0:22-cv-60838-JEM Document 13 Entered on FLSD Docket 06/08/2022 Page 6 of 8




                       comply with Local Rule 56.1.

                       Note: If there are any unresolved discovery disputes pending fifteen days
                       prior to this date, the moving party shall immediately advise the Court of all
                       such unresolved disputes together with their status.

   4-21-2023           Mediation shall be completed.

   5-8-2023            All pretrial motions and memoranda of law must be filed. Each party is
                       limited to filing a single motion in limine, which may not, without leave of
                       Court, exceed the 20-page limit allowed by the Rules.

   5-22-2023           Joint Pretrial Stipulation must be filed.

   6-13-2023           Proposed jury instructions and/or proposed findings of fact and conclusions
                       of law must be filed.

   6-15-2023           Proposed voir dire questions must be filed.


         Failure to comply with this or any order of this Court, the Local Rules, or any other
  applicable rule may result in sanctions, including dismissal without prejudice or the entry of
  a default, without further notice.
         It is the duty of all counsel and pro se litigants to enforce the timetable set forth here to
  ensure an expeditious resolution of this matter.
         DONE AND ORDERED in Chambers at Miami, Florida, this 7th day of June, 2022.



                                                         ____________________________________
  Copies provided to:                                    JOSE E. MARTINEZ
  Magistrate Judge Becerra                               UNITED STATES DISTRICT JUDGE
  All Counsel of Record




                                                     6
    Case 0:22-cv-60838-JEM Document 13 Entered on FLSD Docket 06/08/2022 Page 7 of 8


                                              [Attachment A]

                            UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF FLORIDA
                                  CASE NO. -CIV-MARTINEZ

,
        Plaintiff,

vs.

,
      Defendant.
_____________________________________/

                  ELECTION TO JURISDICTION BY A UNITED STATES
               MAGISTRATE JUDGE FOR FINAL DISPOSITION OF MOTIONS

        In accordance with the provisions of 28 U.S.C. §636(c), the undersigned parties to the above-
captioned civil matter hereby jointly and voluntarily elect to have a United States Magistrate Judge
decide the following motions and issue a final order or judgment with respect thereto:
        1.      Motions for Costs                           Yes _____      No _____
        2.      Motions for Attorney’s Fees                 Yes _____      No _____
        3.      Motions for Sanctions                       Yes _____      No _____
        4.      Motions to Dismiss                          Yes _____      No _____
        5.      Motions for Summary Judgment                Yes _____      No _____
        6.      Discovery                                   Yes _____      No _____
        7.      Other (specify) _______________________________________




        ____________                          ________________________________________
        (Date)                                (Signature--Plaintiff’s Counsel)


        ____________                          ________________________________________
        (Date)                                (Signature--Defendant’s Counsel)
    Case 0:22-cv-60838-JEM Document 13 Entered on FLSD Docket 06/08/2022 Page 8 of 8


                                           [Attachment B]

                          UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. -CIV-MARTINEZ

,
        Plaintiff,

vs.

,
      Defendant.
_____________________________________/

                           ELECTION TO JURISDICTION BY A
                     UNITED STATES MAGISTRATE JUDGE FOR TRIAL

        In accordance with the provisions of 28 U.S.C. §636(c), the undersigned parties to the above-
captioned civil matter hereby jointly and voluntarily elect to have a United States Magistrate Judge
conduct any and all further proceedings in the case, including trial, and entry of final judgment with
respect thereto.

             ____________                        __________________________________
             (Date)                              (Signature--Plaintiff’s Counsel)


             ____________                        __________________________________
             (Date)                              (Signature--Defendant’s Counsel)
